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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

                            Holding a Criminal Term
                        Grand Jury Sworn in on May 7, 2019

UNITED STATES OF AMERICA                 :   CRIMINAL NO.
                                         :
          v.                             :   GRAND JURY ORIGINAL
                                         :
WONG ONG HUA,                            :   VIOLATIONS:
                                         :   18 U.S.C. § 1962(c)
and                                      :   (Racketeering)
                                         :
LING YANG CHING,                         :   18 U.S.C. § 1962(d)
                                         :   (Racketeering Conspiracy)
          Defendants.                    :
                                         :   18 U.S.C. § 1028(a)(7)
                                         :   (Identity Theft)
                                         :
                                         :   18 U.S.C. § 1028A
                                         :   (Aggravated Identity Theft)
                                         :
                                         :   18 U.S.C. § 1029(a)(2)
                                         :   (Access Device Fraud)
                                         :
                                         :   18 U.S.C. § 1030(a)(2), (c)(2)(B)
                                         :   (Obtaining Information By Unauthorized
                                         :   Access To Protected Computers)
                                         :
                                         :   18 U.S.C. § 1030(a)(4), (c)(3)(A)
                                         :   (Furthering Fraud By Unauthorized
                                         :   Access To Protected Computers)
                                         :
                                         :   18 U.S.C. § 1030(a)(5)(A), (c)(4)(B)
                                         :   (Intentionally Causing Damage To
                                         :   Protected Computers)
                                         :
                                         :   18 U.S.C. § 1956(a)(2)(A)
                                         :   (Money Laundering)
                                         :
                                         :   18 U.S.C. § 2
                                         :   Aiding and Abetting
                                         :
                                         :   18 U.S.C. § 3559(g)(1)
                                         :   False Registration Of A Domain Name

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                                                   :   Criminal Forfeiture:
                                                   :   18 U.S.C. § 981(a)(1)(C); 18 U.S.C.
                                                   :   § 982(a)(2); 18 U.S.C. §§ 1030(i) and (j);
                                                   :   28 U.S.C. § 2461(c); and 21 U.S.C. §
                                                   :   853(p).

                                         INDICTMENT

       The Grand Jury charges:

       At all times relevant to this Indictment:

                                       INTRODUCTION

       1.       Defendant WONG ONG HUA (“WONG”) was a resident and citizen of Malaysia,

who had no residence or last known residence in the United States.

       2.       Defendant LING YANG CHING (“LING”) was a resident and citizen of Malaysia,

who had no residence or last known residence in the United States.

       3.       WONG was the founder and Chief Executive Officer of SEA Gamer Mall SDN

BHD (“SEA GAMER”), a privately-owned company registered and located in Malaysia.

       4.       LING was the Chief Product Officer and a shareholder of SEA GAMER.

       5.       SEA GAMER operated an internet-based platform for the sale of digital goods and

services related to video games, including in-game currency and other video game-related digital

goods. SEA GAMER sold digital goods through its website located at seagm.com. In addition to

those direct sales, seagm.com also included a link to kaleoz.com, a platform known as Kaleoz,

which ostensibly allowed “peer to peer” sales among third party customers.

       6.       SEA GAMER had customers in the United States and elsewhere, sold digital goods

related to video games played and operated in the United States and elsewhere, and conducted

business with commercial payment providers, commercial electronic communications providers,

and commercial remote computing providers in the United States and elsewhere.



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       7.       Tan Dailin (“Tan”), also known as 谭戴林, was a resident of the People’s Republic

of China (“PRC”) with no known residence or past residence in the United States. Tan was a

sophisticated and advanced computer hacker.

       8.       Zhang Haoran (“Zhang”), also known as 张浩然, was a resident of the PRC with

no known residence or past residence in the United States. Zhang was a sophisticated and

advanced computer hacker.

       9.       Between at least June 2014 and December 2018, WONG and LING, together with

others known and unknown to the Grand Jury, including Tan and Zhang, participated in a criminal

scheme to profit from the sale of illegally obtained digital goods related to video games; to illegally

obtain those digital goods by means of fraud, computer hacking, identity theft, and promotional

money laundering; and to sell those illegally-obtained digital goods through SEA GAMER, its

website, its employees, and other agents working under its direction.

       10.      As part of and in furtherance of the scheme, WONG and LING worked with

computer hackers who were not SEA GAMER employees (“computer hackers”), including but not

limited to Tan and Zhang, to illegally obtain digital goods related to video games. In exchange for

payments from WONG and SEA GAMER, the computer hackers obtained unauthorized access to

video game company networks, including through identity theft, fraud, and money laundering, and

used their unauthorized access to help SEA GAMER obtain digital goods. WONG and LING,

together with other SEA GAMER agents and employees, generated profit for the scheme by selling

the illegally obtained digital goods through SEA GAMER agents and employees.

       11.      WONG and LING executed the scheme, in part, through SEA GAMER employees

and agents, using SEA GAMER accounts and resources, and by conducting SEA GAMER affairs




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through a pattern of illegal activity, including by illegally obtaining digital goods for sale through

SEA GAMER employees and agents and using SEA GAMER resources.

       12.     WONG and LING, together with others known and unknown to the Grand Jury,

including the computer hackers, worked to obtain “illegal goods,” as one computer hacker called

them, by targeting video game companies in the United States and around the world, including the

companies referred to here as VICTIM ONE through VICTIM NINE.

       13.     VICTIM ONE was a United States-based video game company which operated

protected computers in California and elsewhere. VICTIM ONE operated a video game referred

to here as ALPHA. VICTIM C-1 was an employee of VICTIM ONE.

       14.     VICTIM TWO was a United States-based video game company which operated

protected computers in California and elsewhere.

       15.     VICTIM THREE was a video game company based in France, which operated

protected computers in France and elsewhere. VICTIM THREE operated a video game referred

to here as BETA.

       16.     VICTIM FOUR was a South Korea-based video game company with protected

computers affiliates in South Korea, the United States and elsewhere. VICTIM FOUR was the

parent company of VICTIM FOUR-A and VICTIM FOUR-B. VICTIM FOUR-A was a United

States-based video game company which operated protected computers in Washington, Illinois,

and elsewhere. VICTIM FOUR-B was a South Korea-based company with operations and

protected computers in South Korea, the United States, and elsewhere. VICTIM FOUR, together

with affiliated companies, including VICTIM FOUR-A and VICTIM FOUR-B, operated video

games referred to here as GAMMA and DELTA. VICTIM C-2 and VICTIM C-3 were employees

of VICTIM FOUR.

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       17.    VICTIM FIVE was a video game company based in the South Korea, which

operated protected computers in South Korea, the United States, and elsewhere. VICTIM FIVE

operated a video game referred to here as ZETA.

       18.    VICTIM SIX was a video game company which was headquartered in Japan, and

which operated protected computers in Japan, the United States, and elsewhere.

       19.    VICTIM SEVEN was a United States-based video game company, which operated

protected computers in New York and elsewhere.

       20.    VICTIM EIGHT was a United States-based video game company, which operated

protected computers in California and elsewhere.

       21.    VICTIM NINE was a video game company based in Singapore. VICTIM NINE

distributed software which was used by other companies and individuals, including VICTIM

EIGHT.


                                    COUNT ONE
         (Racketeer Influenced and Corrupt Organization (“RICO”) Conspiracy)

       22.    Paragraphs 1 to 21 are re-alleged here.

                                       The Enterprise

       23.    SEA GAMER (the “Enterprise”) constituted an enterprise as defined in 18 U.S.C.

§ 1961(4), that is, a legal entity, which was engaged in, and the activities of which affected,

interstate and foreign commerce.

       24.    The purposes of the Enterprise included generating money for its owners,

shareholders, officers, employees, agents, and associates. This purpose was implemented by

officers, employees, agents, and associates of the Enterprise through commercial activity, which




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included the commission of various criminal acts, including identity theft, wire fraud, money

laundering, computer fraud and abuse, and various forms of computer intrusions.

                                    The Racketeering Conspiracy

        25.     Beginning no later than about June 2014 and continuing at least until December

2018, and beginning outside of the jurisdiction of any particular State or district and, pursuant to

Title 18, United States Code, Section 3238, within the venue of the United States District Court

for the District of Columbia, WONG ONG HUA and LING YANG CHING, being persons

employed by and associated with SEA GAMER, an Enterprise which engaged in, and the

activities of which affected, interstate and foreign commerce, knowingly and intentionally

conspired, together and with others known and unknown to the Grand Jury, to violate 18 U.S.C.

§ 1962(c), that is, to conduct, and participate, directly and indirectly, in the conduct of, the affairs of

said Enterprise through a pattern of racketeering activity, as defined in 18 U.S.C. §§ 1961(1) and (5),

consisting of multiple acts indictable under the following provisions of federal law:

                a.      18 U.S.C. § 1028 (relating to fraud and related activity in connection with

identification documents);

                b.      18 U.S.C. § 1029 (relating to fraud and related activity in connection with

access devices);

                c.      18 U.S.C. § 1030(a)(5)(A) (relating to protection of computers);

                d.      18 U.S.C. § 1343 (relating to wire fraud); and

                e.       18 U.S.C. § 1956 (relating to the laundering of monetary instruments).

        26.     It was a part of the conspiracy that each defendant agreed that a conspirator would

commit at least two acts of racketeering activity in the conduct of the affairs of the Enterprise.




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                    Manner and Means of the Racketeering Conspiracy

                                           Overview

          27.   WONG and LING worked with one another and with others known and unknown

to the Grand Jury, such as Tan and Zhang, to conduct the affairs of SEA GAMER by illegally

obtaining and generating digital goods related to video games, so that WONG and LING, working

with other SEA GAMER agents and employees, could sell those illegally obtained goods for a

profit.

          28.   The scheme depended on illegal and fraudulent conduct by each participant.

WONG, LING, and SEA GAMER agents and employees fraudulently registered game playing

accounts for the purpose of receiving the illegally obtained digital goods. Computer hackers

gained unauthorized access into video game company computer networks, including through

sophisticated malware, fraudulent spear-phishing e-mails, identity theft, and fraudulently modified

software. WONG and LING worked with the computer hackers to fraudulently obtain and

generate digital goods in game playing accounts controlled by WONG, LING, and other SEA

GAMER agents and employees. WONG, LING, and other SEA GAMER agents and employees

then worked together, in coordination with the computer hackers, to sell those illegally obtained

digital goods through SEA GAMER platforms.

                                     Game Player Accounts

          29.   WONG, LING, and other SEA GAMER agents and employees fraudulently

obtained and controlled game player accounts for the targeted video games. Those game player

accounts were used to receive or generate illegal digital goods. WONG, LING, and other SEA

GAMER agents and employees obtained those game player accounts for commercial use, that is,

for the purpose of illegally obtaining and selling digital goods for profit. WONG, LING, and other



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SEA GAMER agents and employees obtained those game player accounts by creating hundreds

and thousands of separate e-mail accounts, by using proxy services which provided access to

numerous IP addresses, and by fraudulently providing false identification information to video

game companies in order to register game player accounts.

                                      Computer Hacking

       30.    The computer hackers gained unauthorized access to victim company computer

networks through sophisticated and evolving hacking techniques, malware, and computer

infrastructure. The computer hackers used tradecraft such as spear-phishing e-mails with attached

malware that communicated with the malicious domain names, servers, and other hacking

infrastructure, including malicious web pages. Their tradecraft also included more sophisticated

methods, including stolen software signing certificates which fraudulently asserted that malware

was legitimate software authored by legitimate companies, as well as “supply chain attacks,”

through which the hackers victimized software development companies and then fraudulently

modified those companies’ software to include malicious code, thereby enabling the computer

hackers to compromise the companies’ customers.

       31.    The computer hackers’ tradecraft typically included obtaining means of

identification and access devices, including login credentials, belonging to individuals with

administrative access to victim computer networks, and then using those login credentials to

expand their unauthorized access to those networks.

       32.    The computer hackers used their unauthorized access to victim company networks

in order to access video game databases and to fraudulently modify database entries (that is, to

modify records concerning game player accounts controlled by SEA GAMER participants, for

example, by fraudulently increasing the in-game currency or other digital goods in the accounts),



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and to otherwise fraudulently generate, and to allow WONG, LING and SEA GAMER agents and

employees to fraudulently generate, digital goods related to video games.

         33.   In some cases, the computer hackers also used their unauthorized network access

to take action against other unrelated groups that were similarly engaged in the illegal generation

of digital goods, thereby attempting to eliminate the criminal competition.

                          Successfully Selling Illegally Obtained Goods

         34.   WONG, LING, and other participants, including the computer hackers, profited

from the sale, by SEA GAMER and its agents and employees, of the illegally obtained goods to

third-party customers.

         35.   SEA GAMER had no legitimate means of selling the illegally obtained digital

goods. Many victim video game companies explicitly prohibited the sale of digital goods

associated with their platforms (except through specified platforms operated by the companies

themselves), and many companies employed corporate fraud detection personnel tasked with

identifying and terminating accounts involved in the sale of digital goods. Thus, in order to

successfully sell their illegally obtained goods, the participants in the scheme worked to avoid

detection, developing specific procedures for the purchase and sale of their illegally obtained

goods.

         36.   The computer hackers supported those efforts by using their unauthorized network

access to monitor the victim companies’ fraud detection personnel. For example, the computer

hackers identified the methods or formulas used by the corporate fraud detection authorities, and,

working with WONG and LING, used that information to develop specific sales procedures. In a

further attempt to avoid detection, the computer hackers also used their access to fraudulently




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modify records concerning game player accounts used by SEA GAMER, for example, by

fraudulently changing records of the IP addresses associated with particular game player accounts.

       37.     The participants in the scheme also hoped to avoid detection by working

internationally, targeting video game companies and computer servers in countries outside

Malaysia and the PRC, based on an apparent belief that law enforcement would be unable to

investigate “across national borders.” As WONG explained on one occasion, “It is definitely

illegal. So we do it overseas.”

                             Infrastructure for the Computer Hacking

       38.     The computer hacking operations supporting the scheme required the type of

internet infrastructure that is typically required for such operations: e-mail accounts to send spear-

phishing e-mails, communicate with other participants, and obtain additional resources; command-

and-control computer servers (or “C2 Servers”) to control malware installed on victim computers;

and command-and-control domain names (or “C2 Domains”) and web pages which covertly

facilitated communication between C2 servers and malware (“C2 Dead Drops”).

       39.     In addition to infrastructure obtained in Malaysia, the PRC, and elsewhere, the

participants in the scheme used a number of C2 Servers located in the United States, registered

domain names (to be used as C2 Domains) through providers in the United States, and obtained e-

mail and social media accounts from providers in the United States, including accounts to host C2

Dead Drops.

       40.     The participants in the scheme typically obtained e-mail and social media accounts

without any payment. They also typically obtained servers and domain names from commercial

providers, and typically paid for such servers and domains using funds which originated outside

the United States, which were then paid to providers in the United States. Those payments were



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necessary to the scheme because they provided access to infrastructure that was necessary to

execute the computer hacking.

          41.   For example, HOP POINT ONE was a server located in California, which was

leased from a provider located in California. The participants in the scheme used HOP POINT

ONE as a C2 Server to carry out computer intrusion activity. In order to maintain their use of HOP

POINT ONE, the participants in the scheme caused monthly payments to be sent to the California-

based provider. Those payments originated outside the United States and were paid to the provider

in the United States.

          42.   Similarly, HOP POINT TWO was a server located in New York, which was leased

from a provider located in New York. HOP POINT TWO was used as a C2 Server to carry out

computer intrusion activity. In order to obtain their use of HOP POINT TWO, the participants in

the scheme paid the New York-based provider. That payment originated outside the United States

and was paid to the provider in the United States.

          43.   As a final example, operatingbox.com, which the conspirators used as a C2

Domain, was registered through an Arizona-based provider. In order to maintain their use of

operatingbox.com, the participants in the scheme caused payment to the Arizona-based provider.

That payment originated outside the United States and was paid to the provider in the United

States.

                                           Overt Acts

          44.   In furtherance of the conspiracy, and to achieve the object and purposes thereof,

beginning outside of the jurisdiction of any particular State or district and, pursuant to Title 18,

United States Code, Section 3238, within the venue of the United States District Court for the

District of Columbia, the defendants WONG and LING, together with others known and



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unknown to the Grand Jury, performed and caused to be performed the following overt acts,

among others:

                a. On or about May 8, 2014, an account used by the conspirators was used to

                   register a player account with VICTIM ONE, for an ALPHA game.

                b. On or about June 16, 2014, fraudulent spear-phishing e-mails were sent to about

                   fourteen employees of VICTIM ONE.           The spear-phishing e-mails were

                   fraudulently written as if they had been sent by a former employee of VICTIM

                   TWO who had attached his resume as part of a job search. In fact, the “resume”

                   contained malware. The spear-phishing e-mails led to the installation of

                   malware on a protected computer owned by VICTIM ONE. The installation of

                   that malware provided unauthorized access to numerous computers owned by

                   VICTIM ONE.

                c. Between about June 2014 and about April 2015, that unauthorized access was

                   used to obtain information from protected computers owned by VICTIM ONE.

                   That information included login credentials belonging to numerous employees

                   of VICTIM ONE.          Those credentials were used to obtain additional

                   unauthorized access to protected computers owned by VICTIM ONE.

                d. Between about January 2015 and about March 2015, in connection with the

                   VICTIM ONE game ALPHA, SEA GAMER paid “3,779,440” in unlisted

                   currency to bank accounts in the names of Zhang and his wife.

                e. On or about February 24, 2015, in connection with the VICTIM ONE game

                   ALPHA, money was transferred into a bank account held at a bank in the PRC

                   in the name of Zhang.



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    f. On or about March 4, 2015, in connection with the VICTIM ONE game

       ALPHA, money was transferred into a bank account held at a bank in the PRC

       in the name of Zhang’s wife.

    g. In or about March 2015, in connection with the VICTIM ONE game ALPHA,

       VICTIM ONE databases were fraudulently modified, to increase account

       balances on accounts related to ALPHA.

    h. On or about November 26, 2014, malware was installed on protected computers

       at VICTIM TWO, including malware that provided unauthorized access to, and

       information from, protected computers belonging to VICTIM TWO.

    i. On or about November 26, 2014, LING joined a Facebook Group titled,

       “[VICTIM TWO GAME] Black Market,” a Facebook Group which members

       used to illicitly market digital goods related to a VICTIM TWO game.

    j. On or about December 9, 2014, malware installed on protected computers at

       VICTIM TWO caused said computers to communicate, by means of interstate

       wire communications between Texas and California.

    k. On or about May 14, 2015, the domain name operatingbox.com was registered

       with DOMAIN REGISTRAR ONE, a domain registrar located in Arizona.

    l. On or about May 14, 2015, as payment for the registration of operatingbox.com,

       ¥192.39, then worth approximately $1.61, was transmitted, transported, and

       transferred from outside of the United States to DOMAIN REGISTRAR ONE

       in the United States.




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    m. On or about May 19, 2015, spear-phishing e-mails were sent to employees of

       more than ten video game-related companies, including employees of VICTIM

       TWO.

    n. On or about October 11, 2015, ELECTRONIC ACCOUNT ONE was registered

       with a provider in the United States.

    o. On or about October 11, 2015, ELECTRONIC ACCOUNT ONE was used to

       register an account with VICTIM ONE. Thereafter, the account was used in

       connection with ALPHA.

    p. On or about March 17, 2016, HOP POINT ONE and a computer belonging to

       VICTIM ONE engaged in electronic and wire communications with one

       another, which caused a protected computer owned by VICTIM ONE to

       transmit information to HOP POINT ONE.

    q. On or about March 24, 2016, a computer hacker sent a file containing IP

       addresses and other information concerning VICTIM THREE computer servers

       to WONG.

    r. On or about March 30, 2016, and continuing until about August 9, 2016, the

       conspirators caused HOP POINT ONE, in California, to engage in

       communication with IP addresses owned by VICTIM THREE, in France, which

       caused a protected computer owned by VICTIM THREE to transmit

       information to HOP POINT ONE.

    s. On or about May 23, 2016, ELECTRONIC ACCOUNT ONE received an e-

       mail from VICTIM ONE. The e-mail contained a security code which could




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       be used to access the VICTIM ONE account associated with ELECTRONIC

       ACCOUNT ONE.

    t. On or about June 22, 2016, $362.85 was transmitted, transported, and

       transferred from outside of the United States into the United States, as payment

       for the continued lease of HOP POINT ONE.

    u. On or about July 25, 2016, HOP POINT ONE, in California, engaged in

       electronic and wire communications with a computer belonging to VICTIM

       ONE, which was also located in California, which caused a protected computer

       belonging to VICTIM ONE to transmit information to HOP POINT ONE.

    v. On or about August 14, 2016, HOP POINT ONE, in California, engaged in

       electronic and wire communications with a computer belonging to VICTIM

       ONE, which was also located in California, which caused a protected computer

       belonging to VICTIM ONE to transmit information to HOP POINT ONE.

    w. On or about August 20, 2016, WONG sent Visa gift card information to a

       computer hacker. The Visa gift cards were issued in the United States.

    x. On or about February 27, 2017, and beginning prior to that date, a software

       signing certificate belonging to VICTIM FOUR-A was stolen and fraudulently

       appended to malware which was installed on VICTIM FOUR-A computers, and

       which was used for purposes of a computer intrusion, or attempted computer

       intrusions, at VICTIM FOUR, VICTIM FOUR-A, and at VICTIM SIX between

       February 27, 2017, and July 20, 2017.




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    y. On or about February 27, 2017, WONG sent a file containing IP addresses and

       other information concerning VICTIM FOUR and VICTIM FOUR-A game

       servers to a computer hacker.

    z. On or about February 27, 2017, malware was installed on a protected computer

       belonging to VICTIM FOUR-A. The malware was configured to, and did,

       communicate with a subdomain of operatingbox.com as its C2 Domain, thereby

       sending the C2 Server information from protected computers belonging to

       VICTIM FOUR-A.

    aa. On or about March 9, 2017, an access device, that is, a means of access

       belonging to VICTIM FOUR, was used to gain unauthorized access to a

       protected computer used by VICTIM SIX.

    bb. In or about April 2017, means of identification, that is, usernames that provided

       computer access, belonging to VICTIMS C-2 and C-3, were used to attempt

       communications between a C2 Server in Texas and protected computers

       belonging to VICTIM FOUR.

    cc. On July 29, 2017, a computer hacker advised WONG that he was finished with

       his work on the ZETA game in South Asia, noted that “Southeast Asia projects

       don’t seem to have very encouraging revenue,” and asked WONG to

       recommend “some better quality ones.”             WONG suggested targeting

       “US/Europe,” as well as the game referred to here as BETA.

    dd. On July 29, 2017, a computer hacker advised WONG, “[ALPHA] is okay too,

       we have privileges.” WONG recommended waiting to exploit ALPHA until




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       after VICTIM ONE released the following year’s version of ALPHA, because

       “currency value is high early on.”

    ee. On or about August 10, 2017, ELECTRONIC ACCOUNT FOUR was used to

       register a game player account with VICTIM SIX.

    ff. On or about August 17, 2017, ELECTRONIC ACCOUNT TWO and

       ELECTRONIC ACCOUNT THREE were registered with a U.S. provider.

    gg. On or about August 18, 2017, LING registered ELECTRONIC ACCOUNT

       FIVE with a U.S. provider.

    hh. On or about August 18, 2017, LING began using ELECTRONIC ACCOUNT

       FIVE to communicate with a computer hacker about the operation of the

       scheme.

    ii. On or about October 19, 2017, WONG discussed with a computer hacker a

       refund request from a customer whose accounts were “shut down” by a video

       game company after the customer purchased illegally obtained digital goods

       from SEA GAMER, through its agents or employees.

    jj. On or about November 22, 2017, a computer hacker asked WONG to help him

       re-register operatingbox.com, which had recently expired. WONG responded

       that he would be unable to re-register the domain because it had been registered

       by somebody else, as of November 15, 2017.

    kk. On or about February 18, 2018, WONG discussed with a computer hacker

       possible international travel for the purpose of obtaining a private bank account

       in which to deposit the proceeds of the conspiracy. The computer hacker




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       expressed fear that “the Americans are after me” and that the Americans “have

       stuff on us.”

    ll. On or about February 22, 2018, WONG urged a computer hacker to work on

       “[GAMMA] in Thailand.”

    mm.    On or about February 23, 2018, WONG and LING discussed with a

       computer hacker the procedures that should be used to facilitate the sale of

       digital goods, while avoiding detection by the relevant victim video game

       company.

    nn. On or about February 24, 2018, LING discussed those same procedures with a

       SEA GAMER employee and instructed the SEA GAMER employee to follow

       those procedures to avoid detection by the video game company.

    oo. On or about March 11, 2018, WONG and a computer hacker discussed whether

       they were the only group with “illegal goods” in one particular part of ZETA.

    pp. Beginning on or about August 4, 2018, HOP POINT TWO was leased from a

       cloud computing provider located in New York. HOP POINT TWO was used

       as a C2 server.

    qq. On or about August 4, 2018, in order to obtain HOP POINT TWO, $5.00 was

       paid to the cloud computing provider located in New York. The payment was

       transmitted, transported, and transferred from outside of the United States into

       the United States.

    rr. On or about August 14, 2018, the domain name gxxservice.com was registered

       using DOMAIN REGISTRAR TWO, which is based in California.




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               ss. On or about November 16, 2018, VICTIM EIGHT installed what appeared to

                   be legitimate software on one of its internet-connected computers in California.

                   VICTIM EIGHT obtained the software from VICTIM NINE. Unbeknownst to

                   VICTIM EIGHT, as a means of a supply chain attack, computer hackers had

                   earlier fraudulently modified the software installed by VICTIM EIGHT, such

                   that it included malicious code within the otherwise-legitimate software

                   package.

               tt. Shortly after installation, the malicious code caused VICTIM EIGHT’s

                   computer to engage in wire communications with a subdomain of

                   gxxservice.com, which then directed VICTIM EIGHT’s computer to contact

                   HOP POINT TWO, and which caused a protected computer belonging to

                   VICTIM EIGHT to transmit information to HOP POINT TWO.

   (Racketeering Conspiracy, in violation of Title 18, United States Code, Sections 1962(d))

                                        COUNT TWO
                       (Racketeering in Violation of 18 U.S.C. § 1962(c))

       45.     Paragraphs 1 to 21 are re-alleged here.

                                           The Enterprise

       46.     Paragraphs 23 to 24 are re-alleged here.

                             Manner and Means of the Racketeering

       47.     Paragraphs 27 to 43 are re-alleged here.

                                    The Racketeering Violation

       48.     Between at least June 2014 and December 2018, and beginning outside of the

jurisdiction of any particular State or district, and, pursuant to Title 18, United States Code, Section

3238, within the venue of the United States District Court for the District of Columbia, WONG

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ONG HUA and LING YANG CHING, together with others known and unknown to the Grand

Jury, being persons employed by and associated with the SEA GAMER Enterprise described

above, which Enterprise was engaged in and the activities of which affected interstate and foreign

commerce, did knowingly and unlawfully conduct and participate, directly and indirectly, in the

conduct of the affairs of said Enterprise, through a pattern of racketeering activity, as that term is

defined in Title 18, United States Code, Sections 1961(1) and 1961(5), through the commission of

the racketeering acts set forth below.

                              The Pattern of Racketeering Activity

       49.     The pattern of racketeering activity as defined in Title 18, United States Code,

Sections 1961(1) and 1961(5), consisted of:

                                     Racketeering Act One
                                Intrusion Related to Victim One

       50.     WONG ONG HUA and LING YANG CHING, together with others known and

unknown to the Grand Jury, committed the following acts, any one of which alone constitutes the

commission of Racketeering Act One:

               a. On or about June 16, 2014, and beginning outside of the jurisdiction of any

                   particular State or district and, pursuant to Title 18, United States Code, Section

                   3238, within the venue of the United States District Court for the District of

                   Columbia, WONG ONG HUA and LING YANG CHING, together with others

                   known and unknown to the Grand Jury, knowingly attempted to cause, and did

                   cause, the transmission of a program, information, code, and command, and, as

                   a result of such conduct, attempted to cause, and did intentionally cause,

                   damage without authorization to protected computers belonging to VICTIM




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       ONE, and the offense caused or, if completed would have caused, damage

       affecting 10 or more protected computers during a one-year period.

       (Intentional Damage to a Protected Computer, in violation of Title 18,
       United States Code, Sections 1030(a)(5)(A), (b), and 2)

    b. Between about June 2014 and April 2015, and beginning outside of the

       jurisdiction of any particular State or district and, pursuant to Title 18, United

       States Code, Section 3238, within the venue of the United States District Court

       for the District of Columbia, WONG ONG HUA and LING YANG CHING,

       together with others known and unknown to the Grand Jury, did knowingly and

       with intent to defraud, and in a manner affecting interstate and foreign

       commerce by the use of interstate and foreign wire transmissions use one or

       more unauthorized access devices, that is, login credentials, including a

       username, for access to protected computers operated by VICTIM ONE, and

       by such conduct, between June 14, 2014, and June 13, 2015, in a period of less

       than one year, attempted to obtain and did obtain anything of value aggregating

       $1,000 or more.

       (Access Device Fraud, in violation of Title 18, United States Code,
       Sections 1029(a)(2), (b), and 2)

    c. Between about June 2014 and April 2015, and beginning outside of the

       jurisdiction of any particular State or district and, pursuant to Title 18, United

       States Code, Section 3238, within the venue of the United States District Court

       for the District of Columbia, WONG ONG HUA and LING YANG CHING,

       together with others known and unknown to the Grand Jury, did knowingly

       possess and use, and attempt to possess and use, in a manner affecting interstate

       commerce, without lawful authority, a means of identification of another

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                  person, that is, login credentials, including a username, which provided

                  VICTIM C-1 access to protected computers, knowing that the means of

                  identification belonged to another actual person, with the intent to commit, and

                  to aid and abet, and in connection with, unlawful activity that constitutes a

                  violation of Federal law, that is, wire fraud, in violation of Title 18, United

                  States Code, Section 1343, and access device fraud, in violation of Title 18,

                  United States Code, Section 1029(a)(2).

                  (Identity Theft, in violation        of   Title   18,   United   States   Code,
                  Sections 1028(a)(7), (f), and 2)

                                   Racketeering Act Two
                              Intrusion Related to Victim Two

       51.    WONG ONG HUA and LING YANG CHING, together with others known and

unknown to the Grand Jury, committed the following acts, any one of which alone constitutes the

commission of Racketeering Act Two:

              a. On or about November 26, 2014, and beginning outside of the jurisdiction of

                  any particular State or district and, pursuant to Title 18, United States Code,

                  Section 3238, within the venue of the United States District Court for the

                  District of Columbia, WONG ONG HUA and LING YANG CHING, together

                  with others known and unknown to the Grand Jury, knowingly attempted to

                  cause, and did cause, the transmission of a program, information, code, and

                  command, and, as a result of such conduct, attempted to cause, and did

                  intentionally cause, damage without authorization to protected computers

                  belonging to VICTIM TWO, and the offense caused or, if completed would




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       have caused, damage affecting 10 or more protected computers during a one-

       year period.

       (Intentional Damage to a Protected Computer, in violation of Title 18,
       United States Code, Sections 1030(a)(5)(A), (b), and 2)

    b. On or about December 9, 2014, and beginning outside of the jurisdiction of any

       particular State or district and, pursuant to Title 18, United States Code, Section

       3238, within the venue of the United States District Court for the District of

       Columbia, and with intent to defraud, having knowingly devised and intended

       to devise a scheme and artifice to defraud, and in order to obtain money and

       property, to wit, information and digital goods, by means of materially false and

       fraudulent pretenses, representations, and promises, as set forth in Paragraphs

       1 to 21 and 27 to 43, WONG ONG HUA and LING YANG CHING, together

       with others known and unknown to the Grand Jury, for the purpose of executing

       the scheme and artifice to defraud, did transmit and cause to be transmitted, by

       means of wire communications in interstate and foreign commerce between the

       Texas and California, writings, signs, and signals, that is, communications

       exchanging electronic information between a server in California and a

       protected computer owned by VICTIM TWO.

       (Wire Fraud, in violation of Title 18, United States Code, Sections 1343 and
       2)

    c. On or about May 19, 2015, and beginning outside of the jurisdiction of any

       particular State or district and, pursuant to Title 18, United States Code, Section

       3238, within the venue of the United States District Court for the District of

       Columbia, WONG ONG HUA and LING YANG CHING, together with others

       known and unknown to the Grand Jury, knowingly attempted to cause, and did

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                  cause, the transmission of a program, information, code, and command, and, as

                  a result of such conduct, attempted to cause damage without authorization to

                  protected computers belonging to VICTIM TWO, and, if completed, the

                  offense would have caused damage affecting 10 or more protected computers

                  during a one-year period.

                  (Attempted Intentional Damage to a Protected Computer, in violation of
                  Title 18, United States Code, Sections 1030(a)(5)(A), (b), and 2)

                                   Racketeering Act Three
                              Intrusion Related to Victim Three

       52.    WONG ONG HUA and LING YANG CHING, together with others known and

unknown to the Grand Jury, committed the following acts, any one of which alone constitutes the

commission of Racketeering Act Three:

              a. On or about March 30, 2016, and beginning outside of the jurisdiction of any

                  particular State or district and, pursuant to Title 18, United States Code, Section

                  3238, within the venue of the United States District Court for the District of

                  Columbia, and with intent to defraud, having knowingly devised and intended

                  to devise a scheme and artifice to defraud, and in order to obtain money and

                  property, to wit, information and digital goods, by means of materially false and

                  fraudulent pretenses, representations, and promises, as set forth in Paragraphs

                  1 to 21 and 27 to 43, WONG ONG HUA and LING YANG CHING, together

                  with others known and unknown to the Grand Jury, for the purpose of executing

                  the scheme and artifice to defraud, did transmit and cause to be transmitted, by

                  means of wire communications in interstate and foreign commerce between the

                  State of California and France, writings, signs, and signals, that is,


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                  communications exchanging electronic information between HOP POINT

                  ONE and a protected computer owned by VICTIM THREE.

                  (Wire Fraud, in violation of Title 18, United States Code, Sections 1343 and
                  2)

              b. On or about August 9, 2016, and beginning outside of the jurisdiction of any

                  particular State or district and, pursuant to Title 18, United States Code, Section

                  3238, within the venue of the United States District Court for the District of

                  Columbia, and with intent to defraud, having knowingly devised and intended

                  to devise a scheme and artifice to defraud, and in order to obtain money and

                  property, to wit, information and digital goods, by means of materially false and

                  fraudulent pretenses, representations, and promises, as set forth in Paragraphs

                  1 to 21 and 27 to 43, WONG ONG HUA and LING YANG CHING, together

                  with others known and unknown to the Grand Jury, for the purpose of executing

                  the scheme and artifice to defraud, did transmit and cause to be transmitted, by

                  means of wire communications in interstate and foreign commerce between the

                  State of California and France, writings, signs, and signals, that is,

                  communications exchanging electronic information between HOP POINT

                  ONE and a protected computer owned by VICTIM THREE.

                  (Wire Fraud, in violation of Title 18, United States Code, Sections 1343 and
                  2)

                                    Racketeering Act Four
                                 Intrusion Related to Gamma

       53.    WONG ONG HUA and LING YANG CHING, together with others known and

unknown to the Grand Jury, committed the following acts, any one of which alone constitutes the

commission of Racketeering Act Four:

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    a. On or about February 27, 2017, and beginning outside of the jurisdiction of any

       particular State or district and, pursuant to Title 18, United States Code, Section

       3238, within the venue of the United States District Court for the District of

       Columbia, WONG ONG HUA and LING YANG CHING, together with others

       known and unknown to the Grand Jury, knowingly attempted to cause, and did

       cause, the transmission of a program, information, code, and command, and, as

       a result of such conduct, attempted to cause, and did intentionally cause,

       damage without authorization to protected computers belonging to VICTIM

       FOUR-A, and the offense caused or, if completed would have caused, damage

       affecting 10 or more protected computers during a one-year period.

       (Intentional Damage to a Protected Computer, in violation of Title 18,
       United States Code, Sections 1030(a)(5)(A), (b), and 2)

    b. In about March 2017, and beginning outside of the jurisdiction of any particular

       State or district and, pursuant to Title 18, United States Code, Section 3238,

       within the venue of the United States District Court for the District of Columbia,

       WONG ONG HUA and LING YANG CHING, together with others known and

       unknown to the Grand Jury, did knowingly and with intent to defraud, and in a

       manner affecting interstate and foreign commerce by the use of interstate and

       foreign wire transmissions, use one or more unauthorized access devices, that

       is, login credentials, including a username, for access to protected computers

       operated by VICTIM FOUR, and by such conduct, between January 1, 2017,

       and December 31, 2017, in a period of less than one year, attempted to obtain

       and did obtain anything of value aggregating $1,000 or more.

       (Access Device Fraud, in violation of Title 18, United States Code,
       Sections 1029(a)(2), (b), and 2)
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              c. In or about March 2017, and beginning outside of the jurisdiction of any

                  particular State or district and, pursuant to Title 18, United States Code, Section

                  3238, within the venue of the United States District Court for the District of

                  Columbia, WONG ONG HUA and LING YANG CHING, together with others

                  known and unknown to the Grand Jury, did knowingly possess and use, and

                  attempt to possess and use, in a manner affecting interstate commerce, without

                  lawful authority, a means of identification of another person, that is, login

                  credentials, including a username, which provided VICTIM C-2 access to

                  protected computers, knowing that the means of identification belonged to

                  another actual person, with the intent to commit, and to aid and abet, and in

                  connection with, unlawful activity that constitutes a violation of Federal law,

                  that is, wire fraud, in violation of Title 18, United States Code, Section 1343,

                  and access device fraud, in violation of Title 18, United States Code, Section

                  1029(a)(2).

                  (Identity Theft, in violation          of   Title   18,   United   States   Code,
                  Sections 1028(a)(7), (b), and 2)

                                    Racketeering Act Five
                                  Intrusion Related to Delta

       54.    WONG ONG HUA and LING YANG CHING, together with others known and

unknown to the Grand Jury, committed the following acts, any one of which alone constitutes the

commission of Racketeering Act Five:

              a. On or about September 29, 2017, and beginning outside of the jurisdiction of

                  any particular State or district and, pursuant to Title 18, United States Code,

                  Section 3238, within the venue of the United States District Court for the


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       District of Columbia, WONG ONG HUA and LING YANG CHING, together

       with others known and unknown to the Grand Jury, knowingly attempted to

       cause, and did cause, the transmission of a program, information, code, and

       command, and, as a result of such conduct, attempted to intentionally cause

       damage without authorization to protected computers operated by VICTIM

       FOUR-B and used in connection with DELTA, and the offense, if completed,

       would have caused loss to one or more persons during one-year period from a

       related course of conduct affecting protected computers aggregating at least

       $5,000 in value, and, if completed, the offense would have caused damage

       affecting 10 or more protected computers during a one-year period.

       (Intentional Damage to a Protected Computer, in violation of Title 18,
       United States Code, Sections 1030(a)(5)(A), (b), and 2)

    b. On or about October 4, 2017, and beginning outside of the jurisdiction of any

       particular State or district and, pursuant to Title 18, United States Code, Section

       3238, within the venue of the United States District Court for the District of

       Columbia, WONG ONG HUA and LING YANG CHING, together with others

       known and unknown to the Grand Jury, knowingly attempted to cause, and did

       cause, the transmission of a program, information, code, and command, and, as

       a result of such conduct, attempted to intentionally cause damage without

       authorization to protected computers used in connection with VICTIM FOUR-

       B and DELTA, and the offense, if completed, would have caused loss to one or

       more persons during one-year period from a related course of conduct affecting

       protected computers aggregating at least $5,000 in value, and, if completed, the




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                  offense would have caused damage affecting 10 or more protected computers

                  during a one-year period.

                  (Attempted Intentional Damage to a Protected Computer, in violation of
                  Title 18, United States Code, Sections 1030(a)(5)(A), (b), and 2)

              c. On or about December 25, 2017, and beginning outside of the jurisdiction of

                  any particular State or district and, pursuant to Title 18, United States Code,

                  Section 3238, within the venue of the United States District Court for the

                  District of Columbia, WONG ONG HUA and LING YANG CHING, together

                  with others known and unknown to the Grand Jury, knowingly attempted to

                  cause, and did cause, the transmission of a program, information, code, and

                  command, and, as a result of such conduct, attempted to intentionally cause

                  damage without authorization to protected computers used in connection with

                  VICTIM FOUR-B and DELTA, and the offense, if completed, would have

                  caused loss to one or more persons during one-year period from a related course

                  of conduct affecting protected computers aggregating at least $5,000 in value,

                  and, if completed, the offense would have caused damage affecting 10 or more

                  protected computers during a one-year period.

                  (Attempted Intentional Damage to a Protected Computer, in violation of
                  Title 18, United States Code, Sections 1030(a)(5)(A), (b), and 2)

                                    Racketeering Act Six
                              Intrusion Related to Victim Eight

       55.    WONG ONG HUA and LING YANG CHING, together with others known and

unknown to the Grand Jury, committed the following acts, any one of which alone constitutes the

commission of Racketeering Act Six:




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    a. On or about November 16, 2018, and beginning outside of the jurisdiction of

       any particular State or district and, pursuant to Title 18, United States Code,

       Section 3238, within the venue of the United States District Court for the

       District of Columbia, WONG ONG HUA and LING YANG CHING, together

       with others known and unknown to the Grand Jury, knowingly attempted to

       cause, and did cause, the transmission of a program, information, code, and

       command, and, as a result of such conduct, attempted to cause, and intentionally

       did cause, damage without authorization to protected computers belonging to

       VICTIM EIGHT, and the offense caused or, if completed would have caused,

       damage affecting 10 or more protected computers during a one-year period.

       (Intentional Damage to a Protected Computer, in violation of Title 18,
       United States Code, Sections 1030(a)(5)(A), (b), and 2)

    b. On or about November 16, 2018, and beginning outside of the jurisdiction of

       any particular State or district and, pursuant to Title 18, United States Code,

       Section 3238, within the venue of the United States District Court for the

       District of Columbia, and with intent to defraud, having knowingly devised and

       intended to devise a scheme and artifice to defraud, and in order to obtain

       money and property, to wit, information and digital goods, by means of

       materially false and fraudulent pretenses, representations, and promises, as set

       forth in Paragraphs 1 to 21 and 27 to 43, WONG ONG HUA and LING YANG

       CHING, together with others known and unknown to the Grand Jury, for the

       purpose of executing the scheme and artifice to defraud, did transmit and cause

       to be transmitted, by means of wire communications in interstate and foreign

       commerce between the State of California and the State of New York, writings,


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                  signs, and signals, that is, communications exchanging electronic information

                  between a protected computer belonging to VICTIM EIGHT and HOP POINT

                  TWO.

                  (Wire Fraud, in violation of Title 18, United States Code, Sections 1343 and
                  2)

                                 Racketeering Act Seven
              Acquisition and Use of Property to Promote Computer Hacking

       56.    WONG ONG HUA and LING YANG CHING, together with others known and

unknown to the Grand Jury, committed the following acts, any one of which alone constitutes the

commission of Racketeering Act Seven:

              a. On or about May 14, 2015, and beginning outside of the jurisdiction of any

                  particular State or district and, pursuant to Title 18, United States Code, Section

                  3238, within the venue of the United States District Court for the District of

                  Columbia, WONG ONG HUA and LING YANG CHING, together with others

                  known and unknown to the Grand Jury, knowingly transported, transmitted, and

                  transferred funds, and aided, abetted, and willfully caused, the transport,

                  transmitting, and transfer of funds, that is, a ¥192.39 payment (then worth

                  approximately $1.61) for the registration of operatingbox.com, to a place in the

                  United States from and through a place outside the United States, with the intent

                  to promote the carrying on of specified unlawful activity, that is, intentionally

                  damaging, and obtaining information by unauthorized access to, protected

                  computers, in violation of Title 18, United States Code, Sections 1030(a)(5)(A)

                  and 1030(a)(2), identity theft, in violation of United States Code, Section




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       1028(a)(7), and wire fraud, in violation of Title 18, United States Code, Section

       1343.

       (Money Laundering, in violation of Title 18, United States Code,
       Sections 1956(a)(2)(A) and 2)

    b. On or about March 23, 2016, and beginning outside of the jurisdiction of any

       particular State or district and, pursuant to Title 18, United States Code, Section

       3238, within the venue of the United States District Court for the District of

       Columbia, WONG ONG HUA and LING YANG CHING, together with others

       known and unknown to the Grand Jury, knowingly transported, transmitted, and

       transferred funds, and aided, abetted, and willfully caused, the transport,

       transmitting, and transfer of funds, that is, a $362.85 payment for the lease of

       HOP POINT ONE, to a place in the United States from and through a place

       outside the United States, with the intent to promote the carrying on of specified

       unlawful activity, that is, intentionally damaging, and obtaining information by

       unauthorized access to, protected computers, in violation of Title 18, United

       States Code, Sections 1030(a)(5)(A) and 1030(a)(2), identity theft, in violation

       of United States Code, Section 1028(a)(7), and wire fraud, in violation of Title

       18, United States Code, Section 1343.

       (Money Laundering, in violation of Title 18, United States Code,
       Sections 1956(a)(2)(A) and 2)

    c. On or about June 22, 2016, and beginning outside of the jurisdiction of any

       particular State or district and, pursuant to Title 18, United States Code, Section

       3238, within the venue of the United States District Court for the District of

       Columbia, WONG ONG HUA and LING YANG CHING, together with others

       known and unknown to the Grand Jury, knowingly transported, transmitted, and

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       transferred funds, and aided, abetted, and willfully caused, the transport,

       transmitting, and transfer of funds, that is, a $362.85 payment for the lease of

       HOP POINT ONE, to a place in the United States from and through a place

       outside the United States, with the intent to promote the carrying on of specified

       unlawful activity, that is, intentionally damaging, and obtaining information by

       unauthorized access to, protected computers, in violation of Title 18, United

       States Code, Sections 1030(a)(5)(A) and 1030(a)(2), identity theft, in violation

       of United States Code, Section 1028(a)(7), and wire fraud, in violation of Title

       18, United States Code, Section 1343.

       (Money Laundering, in violation of Title 18, United States Code,
       Sections 1956(a)(2)(A) and 2)

    d. On or about August 4, 2018, and beginning outside of the jurisdiction of any

       particular State or district and, pursuant to Title 18, United States Code, Section

       3238, within the venue of the United States District Court for the District of

       Columbia, WONG ONG HUA and LING YANG CHING, together with others

       known and unknown to the Grand Jury, knowingly transported, transmitted, and

       transferred funds, and aided, abetted and willfully caused, the transport,

       transmitting, and transfer of funds, that is, a $5.00 payment for the lease of HOP

       POINT TWO, to a place in the United States from and through a place outside

       the United States, with the intent to promote the carrying on of specified

       unlawful activity, that is, intentionally damaging, and obtaining information by

       unauthorized access to, protected computers, in violation of Title 18, United

       States Code, Sections 1030(a)(5)(A) and 1030(a)(2), identity theft, in violation




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                   of United States Code, Section 1028(a)(7), and wire fraud, in violation of Title

                   18, United States Code, Section 1343.

                   (Money Laundering, in violation of Title 18, United States Code,
                   Sections 1956(a)(2)(A) and 2)

      (Racketeering, in violation of Title 18, United States Code, Sections 1962(c) and 2)

                                       COUNT THREE
                                      (Money Laundering)

       57.     Paragraphs 1 to 21 are re-alleged here.

       58.     On or about May 14, 2015, and beginning outside of the jurisdiction of any

particular State or district and, pursuant to Title 18, United States Code, Section 3238, within the

venue of the United States District Court for the District of Columbia, WONG ONG HUA and

LING YANG CHING, together with others known and unknown to the Grand Jury, knowingly

transported, transmitted, and transferred funds, and aided, abetted and willfully caused, the

transport, transmitting, and transfer of funds, that is, a ¥192.39 payment (then worth approximately

$1.61) for the registration of operatingbox.com, to a place in the United States from and through a

place outside the United States, with the intent to promote the carrying on of specified unlawful

activity, that is, intentionally damaging, and obtaining information by unauthorized access to,

protected computers, in violation of Title 18, United States Code, Sections 1030(a)(5)(A) and

1030(a)(2), and identity theft, in violation of United States Code, Section 1028(a)(7).

(Money Laundering, in violation of Title 18, United States Code, Sections 1956(a)(2)(A) and 2)

                                     COUNT FOUR
             (Furthering Fraud by Unauthorized Access to a Protected Computer)

       59.     Paragraphs 1 to 21 are re-alleged here.

       60.     In about March 2015, and beginning outside of the jurisdiction of any particular

State or district and, pursuant to Title 18, United States Code, Section 3238, within the venue of

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the United States District Court for the District of Columbia, WONG ONG HUA and LING

YANG CHING, together with others known and unknown to the Grand Jury, knowingly and with

intent to defraud, accessed a protected computer without authorization, that is, a protected

computer belonging to VICTIM ONE, and aided and abetted the same, and by means of such

conduct, furthered the intended fraud and obtained something of value, specifically, digital goods.

 (Furthering Fraud by Unauthorized Access to a Protected Computer, in violation of Title
             18, United States Code, Sections 1030(a)(4), (b), (c)(3)(A), and 2)

                                        COUNT FIVE
                                     (Access Device Fraud)

       61.     Paragraphs 1 to 21 are re-alleged here.

       62.     In about March 2015, and beginning outside of the jurisdiction of any particular

State or district and, pursuant to Title 18, United States Code, Section 3238, within the venue of

the United States District Court for the District of Columbia, WONG ONG HUA and LING

YANG CHING, together with others known and unknown to the Grand Jury, did knowingly and

with intent to defraud, and in a manner affecting interstate and foreign commerce by the use of

interstate and foreign wire transmissions, use one or more unauthorized access devices, that is,

login credentials, including a username, for access to protected computers operated by VICTIM

ONE, and aided and abetted the same, and by such conduct, between June 14, 2014, and June 13,

2015, in a period of less than one year, attempted to obtain and did obtain anything of value

aggregating $1,000 or more.

(Access Device Fraud, in violation of Title 18, United States Code, Sections 1029(a)(2), (b), and
                                     (c)(1)(A)(i) and (2))

                                           COUNT SIX
                                         (Identity Theft)

       63.     Paragraphs 1 to 21 are re-alleged here.


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       64.     In about March 2015, and beginning outside of the jurisdiction of any particular

State or district and, pursuant to Title 18, United States Code, Section 3238, within the venue of

the United States District Court for the District of Columbia, WONG ONG HUA and LING

YANG CHING, together with others known and unknown to the Grand Jury, did knowingly

possess and use, and attempt to possess and use, in a manner affecting interstate commerce, without

lawful authority, a means of identification of another person, that is, login credentials, which

provided VICTIM C-1 access to protected computers, and aided and abetted the same, knowing

that the means of identification belonged to another actual person, with the intent to commit, and

to aid and abet, and in connection with, unlawful activity that constitutes a violation of Federal

law, that is, wire fraud, in violation of Title 18, United States Code, Section 1343, and access

device fraud, in violation of Title 18, United States Code, Section 1029(a)(2).

(Identity Theft, in violation of Title 18, United States Code, Sections 1028(a)(7) and (b)(2)(B))

                                    COUNT SEVEN
         (Obtaining Information by Unauthorized Access to a Protected Computer)

       65.     Paragraphs 1 to 21 are re-alleged here.

       66.     On or about March 30, 2016, and beginning outside of the jurisdiction of any

particular State or district and, pursuant to Title 18, United States Code, Section 3238, within the

venue of the United States District Court for the District of Columbia, and for purposes of

commercial advantage and private financial gain, and in furtherance of a criminal and tortious act

in violation of the Constitution and the laws of the United States, that is, wire fraud, in violation

of Title 18, United States Code, Section 1343, WONG ONG HUA and LING YANG CHING,

together with others known and unknown to the Grand Jury, attempted to intentionally access, and

did intentionally access, a protected computer without authorization, and aided and abetted the




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same, and thereby obtained, and attempted to obtain, information from a protected computer

belonging to VICTIM THREE.

 (Obtaining Information by Unauthorized Access to a Protected Computer, in violation of
   Title 18, United States Code, Sections 1030(a)(2)(C), (b), and (c)(2)(B)(i) and (ii) and 2)

                                     COUNT EIGHT
             (Furthering Fraud by Unauthorized Access to a Protected Computer)

       67.     Paragraphs 1 to 21 are re-alleged here.

       68.     On or about March 30, 2016, and beginning outside of the jurisdiction of any

particular State or district and, pursuant to Title 18, United States Code, Section 3238, within the

venue of the United States District Court for the District of Columbia, WONG ONG HUA and

LING YANG CHING, together with others known and unknown to the Grand Jury, knowingly

and with intent to defraud, accessed a protected computer without authorization, that is, a protected

computer belonging to VICTIM THREE, and aided and abetted the same, and by means of such

conduct, attempted to further the intended fraud and obtain something of value, specifically, digital

goods, in violation of 18 U.S.C. §§ 1030(a)(4), (b), and (c)(3)(A).

 (Furthering Fraud by Unauthorized Access to a Protected Computer, in violation of Title
             18, United States Code, Sections 1030(a)(4), (b), (c)(3)(A), and 2)

                                        COUNT NINE
                                      (Money Laundering)

       69.     Paragraphs 1 to 21 are re-alleged here.

       70.     On or about June 22, 2016, and beginning outside of the jurisdiction of any

particular State or district and, pursuant to Title 18, United States Code, Section 3238, within the

venue of the United States District Court for the District of Columbia, WONG ONG HUA and

LING YANG CHING, together with others known and unknown to the Grand Jury, knowingly

transported, transmitted, and transferred funds, and aided, abetted and willfully caused, the


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transport, transmitting, and transfer of funds, that is, a $362.85 payment for the lease of HOP

POINT ONE, to a place in the United States from and through a place outside the United States,

with the intent to promote the carrying on of specified unlawful activity, that is, intentionally

damaging, and obtaining information by unauthorized access to, protected computers, in violation

of Title 18, United States Code, Sections 1030(a)(5)(A) and 1030(a)(2), and identity theft, in

violation of United States Code, Section 1028(a)(7).

(Money Laundering, in violation of Title 18, United States Code, Sections 1956(a)(2)(A) and 2)

                                     COUNT TEN
         (Obtaining Information by Unauthorized Access to a Protected Computer)

       71.     Paragraphs 1 to 21 are re-alleged here.

       72.     On or about July 25, 2016, and beginning outside of the jurisdiction of any

particular State or district and, pursuant to Title 18, United States Code, Section 3238, within the

venue of the United States District Court for the District of Columbia, and for purposes of

commercial advantage and private financial gain, and in furtherance of a criminal and tortious act

in violation of the Constitution and the laws of the United States, that is, wire fraud, in violation

of Title 18, United States Code, Section 1343, WONG ONG HUA and LING YANG CHING,

together with others known and unknown to the Grand Jury, attempted to intentionally access, and

did intentionally access, a protected computer without authorization, and aided and abetted the

same, and thereby obtained, and attempted to obtain, information from a protected computer

belonging to VICTIM ONE.

 (Obtaining Information by Unauthorized Access to a Protected Computer, in violation of
   Title 18, United States Code, Sections 1030(a)(2)(C), (b), and (c)(2)(B)(i) and (ii) and 2)




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                                   COUNT ELEVEN
         (Obtaining Information by Unauthorized Access to a Protected Computer)

       73.     Paragraphs 1 to 21 are re-alleged here.

       74.     On or about August 14, 2016, and beginning outside of the jurisdiction of any

particular State or district and, pursuant to Title 18, United States Code, Section 3238, within the

venue of the United States District Court for the District of Columbia, and for purposes of

commercial advantage and private financial gain, and in furtherance of a criminal and tortious act

in violation of the Constitution and the laws of the United States, that is, wire fraud, in violation

of Title 18, United States Code, Section 1343, WONG ONG HUA and LING YANG CHING,

together with others known and unknown to the Grand Jury, attempted to intentionally access, and

did intentionally access, a protected computer without authorization, and aided and abetted the

same, and thereby obtained, and attempted to obtain, information from a protected computer

belonging to VICTIM ONE.

 (Obtaining Information by Unauthorized Access to a Protected Computer, in violation of
   Title 18, United States Code, Sections 1030(a)(2)(C), (b), and (c)(2)(B)(i) and (ii) and 2)

                                    COUNT TWELVE
             (Furthering Fraud by Unauthorized Access to a Protected Computer)

       75.     Paragraphs 1 to 21 are re-alleged here.

       76.     On or about August 14, 2016, and beginning outside of the jurisdiction of any

particular State or district and, pursuant to Title 18, United States Code, Section 3238, within the

venue of the United States District Court for the District of Columbia, WONG ONG HUA and

LING YANG CHING, together with others known and unknown to the Grand Jury, knowingly

and with intent to defraud, accessed a protected computer without authorization, that is, a protected

computer belonging to VICTIM ONE, and aided and abetted the same, and by means of such



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conduct, attempted to further the intended fraud and obtain something of value, specifically, digital

goods, in violation of 18 U.S.C. §§ 1030(a)(4), (b), and (c)(3)(A).

 (Furthering Fraud by Unauthorized Access to a Protected Computer, in violation of Title
             18, United States Code, Sections 1030(a)(4), (b), (c)(3)(A), and 2)

                                   COUNT THIRTEEN
                  (Attempted Intentional Damage to a Protected Computer)

       77.     Paragraphs 1 to 21 are re-alleged here.

       78.     On or about October 17, 2016, and beginning outside of the jurisdiction of any

particular State or district and, pursuant to Title 18, United States Code, Section 3238, within the

venue of the United States District Court for the District of Columbia, WONG ONG HUA and

LING YANG CHING, together with others known and unknown to the Grand Jury, knowingly

attempted to cause, and did cause, the transmission of a program, information, code, and command,

and, as a result of such conduct, attempted to intentionally cause damage without authorization to

protected computers belonging to VICTIM SEVEN, and aided and abetted the same, and the

offense, if completed, would have caused loss to one or more persons during one-year period from

a related course of conduct affecting protected computers aggregating at least $5,000 in value, and,

if completed, the offense would have caused damage affecting 10 or more protected computers

during a one-year period.

  (Attempted Intentional Damage to a Protected Computer, in violation of Title 18, United
               States Code, Sections 1030(a)(5)(A), (b), and (c)(4)(B) and 2)

                                     COUNT FOURTEEN
                        (Intentional Damage to a Protected Computer)

       79.     Paragraphs 1 to 21 are re-alleged here.

       80.     On or about February 27, 2017, and beginning outside of the jurisdiction of any

particular State or district and, pursuant to Title 18, United States Code, Section 3238, within the


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venue of the United States District Court for the District of Columbia, WONG ONG HUA and

LING YANG CHING, together with others known and unknown to the Grand Jury, knowingly

attempted to cause, and did cause, the transmission of a program, information, code, and command,

and, as a result of such conduct, attempted to cause, and intentionally did cause, damage without

authorization to protected computers operated by VICTIM FOUR-A, and aided and abetted the

same, and the offense caused, or if completed would have caused, loss to one or more persons

during one-year period from a related course of conduct affecting protected computers aggregating

at least $5,000 in value, and the offense caused, or if completed would have caused, damage

affecting 10 or more protected computers during a one-year period.

 (Intentional Damage to a Protected Computer, in violation of Title 18, United States Code,
                     Sections 1030(a)(5)(A), (b), and (c)(4)(B) and 2)

                                   COUNT FIFTEEN
         (Obtaining Information by Unauthorized Access to a Protected Computer)

       81.     Paragraphs 1 to 21 are re-alleged here.

       82.     On or about February 27, 2017, and beginning outside of the jurisdiction of any

particular State or district and, pursuant to Title 18, United States Code, Section 3238, within the

venue of the United States District Court for the District of Columbia, and for purposes of

commercial advantage and private financial gain, and in furtherance of a criminal and tortious act

in violation of the Constitution and the laws of the United States, that is, wire fraud, in violation

of Title 18, United States Code, Section 1343, WONG ONG HUA and LING YANG CHING,

together with others known and unknown to the Grand Jury, attempted to intentionally access, and

did intentionally access, a protected computer without authorization, and aided and abetted the




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same, and thereby obtained information, and attempted to obtain information, from a protected

computer belonging to VICTIM FOUR-A.

 (Obtaining Information by Unauthorized Access to a Protected Computer, in violation of
   Title 18, United States Code, Sections 1030(a)(2)(C), (b), and (c)(2)(B)(i) and (ii) and 2)

                                    COUNT SIXTEEN
             (Furthering Fraud by Unauthorized Access to a Protected Computer)

       83.     Paragraphs 1 to 21 are re-alleged here.

       84.     On or about February 27, 2017, and beginning outside of the jurisdiction of any

particular State or district and, pursuant to Title 18, United States Code, Section 3238, within the

venue of the United States District Court for the District of Columbia, WONG ONG HUA and

LING YANG CHING, together with others known and unknown to the Grand Jury, knowingly

and with intent to defraud, accessed a protected computer without authorization, that is, a protected

computer belonging to VICTIM FOUR-A, and aided and abetted the same, and by means of such

conduct, attempted to further the intended fraud and obtain something of value, specifically, digital

goods, in violation of 18 U.S.C. §§ 1030(a)(4), (b), and (c)(3)(A).

 (Furthering Fraud by Unauthorized Access to a Protected Computer, in violation of Title
             18, United States Code, Sections 1030(a)(4), (b), (c)(3)(A), and 2)

                                     COUNT SEVENTEEN
                                     (Access Device Fraud)

       85.     Paragraphs 1 to 21 are re-alleged here.

       86.     In about March 2017, and beginning outside of the jurisdiction of any particular

State or district and, pursuant to Title 18, United States Code, Section 3238, within the venue of

the United States District Court for the District of Columbia, WONG ONG HUA and LING

YANG CHING, together with others known and unknown to the Grand Jury, did knowingly and

with intent to defraud, and in a manner affecting interstate and foreign commerce by the use of


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interstate and foreign wire transmissions, use one or more unauthorized access devices, that is,

login credentials, including a username, for access to protected computers operated by VICTIM

FOUR and VICTIM FOUR-A, and aided and abetted the same, and by such conduct, between

January 1, 2017, and December 31, 2017, in a period of less than one year, attempted to obtain and

did obtain anything of value aggregating $1,000 or more.

  (Access Device Fraud, in violation of Title 18, United States Code, Sections 1029(a)(2) and
                                     (c)(1)(A)(i) and (2))

                                      COUNT EIGHTEEN
                                        (Identity Theft)

       87.     Paragraphs 1 to 21 are re-alleged here.

       88.     In or about March 2017, and beginning outside of the jurisdiction of any particular

State or district and, pursuant to Title 18, United States Code, Section 3238, within the venue of

the United States District Court for the District of Columbia, WONG ONG HUA and LING

YANG CHING, together with others known and unknown to the Grand Jury, did knowingly

possess and use, and attempt to possess and use, in a manner affecting interstate commerce, without

lawful authority, a means of identification of another person, that is, login credentials, including a

username, which provided VICTIM C-2 access to protected computers, and aided and abetted the

same, knowing that the means of identification belonged to another actual person, with the intent

to commit, and to aid and abet, and in connection with, unlawful activity that constitutes a violation

of Federal law, that is, wire fraud, in violation of Title 18, United States Code, Section 1343, and

access device fraud, in violation of Title 18, United States Code, Section 1029(a)(2).

(Identity Theft, in violation of Title 18, United States Code, Sections 1028(a)(7) and (b)(2)(B))




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                                      COUNT NINETEEN
                                   (Aggravated Identity Theft)

       89.     Paragraphs 1 to 21 are re-alleged here.

       90.     In or about March 2017, and beginning outside of the jurisdiction of any particular

State or district and, pursuant to Title 18, United States Code, Section 3238, within the venue of

the United States District Court for the District of Columbia, WONG ONG HUA and LING

YANG CHING, together with others known and unknown to the Grand Jury, during and in relation

to the crime of wire fraud, in violation of Title 18, United States Code, Section 1343, and the crime

of obtaining information by unauthorized access to a protected computer, in violation of Title 18,

United States Code, Section 1030(a)(2), did knowingly transfer, possess, and use, without lawful

authority, a means of identification of another person, that is, VICTIM C-3, an employee of

VICTIM FOUR, and aided and abetted the same.

(Aggravated Identity Theft, in violation of Title 18, United States Code, Sections 1028A(a)(1),
                             1028A(b), 1028A(c)(4), (5) and 2)

                                       COUNT TWENTY
                                      (Money Laundering)

       91.     Paragraphs 1 to 21 are re-alleged here.

       92.     On or about August 4, 2018, and beginning outside of the jurisdiction of any

particular State or district and, pursuant to Title 18, United States Code, Section 3238, within the

venue of the United States District Court for the District of Columbia, WONG ONG HUA and

LING YANG CHING, together with others known and unknown to the Grand Jury, knowingly

transported, transmitted, and transferred funds, and aided, abetted and willfully caused, the

transport, transmitting, and transfer of funds, that is, a $5.00 payment for the lease of HOP POINT

TWO, to a place in the United States from and through a place outside the United States, with the

intent to promote the carrying on of specified unlawful activity, that is, intentionally damaging,

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and obtaining information by unauthorized access to, protected computers, in violation of Title 18,

United States Code, Sections 1030(a)(5)(A) and 1030(a)(2), and identity theft, in violation of

United States Code, Section 1028(a)(7).

(Money Laundering, in violation of Title 18, United States Code, Sections 1956(a)(2)(A) and 2)

                                   COUNT TWENTY-ONE
                        (Intentional Damage to a Protected Computer)

       93.     Paragraphs 1 to 21 are re-alleged here.

       94.     On or about November 16, 2018, and beginning outside of the jurisdiction of any

particular State or district and, pursuant to Title 18, United States Code, Section 3238, within the

venue of the United States District Court for the District of Columbia, WONG ONG HUA and

LING YANG CHING, together with others known and unknown to the Grand Jury, knowingly

attempted to cause, and did cause, the transmission of a program, information, code, and command,

and, as a result of such conduct, attempted to cause, and intentionally did cause, damage without

authorization to protected computers belonging to VICTIM EIGHT, and aided and abetted the

same, and the offense caused, or if completed would have caused, loss to one or more persons

during one-year period from a related course of conduct affecting protected computers aggregating

at least $5,000 in value, and the offense caused, or if completed would have caused, damage

affecting 10 or more protected computers during a one-year period.

 (Intentional Damage to a Protected Computer, in violation of Title 18, United States Code,
                     Sections 1030(a)(5)(A), (b), and (c)(4)(B) and 2)

                                COUNT TWENTY-TWO
         (Obtaining Information by Unauthorized Access to a Protected Computer)

       95.     Paragraphs 1 to 21 are re-alleged here.

       96.     On or about November 16, 2018, and beginning outside of the jurisdiction of any

particular State or district and, pursuant to Title 18, United States Code, Section 3238, within the

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venue of the United States District Court for the District of Columbia, and for purposes of

commercial advantage and private financial gain, and in furtherance of a criminal and tortious act

in violation of the Constitution and the laws of the United States, that is, wire fraud, in violation

of Title 18, United States Code, Section 1343, WONG ONG HUA and LING YANG CHING,

together with others known and unknown to the Grand Jury, attempted to intentionally access, and

did intentionally access, a protected computer without authorization, and aided and abetted the

same, and thereby attempted to obtain, and did obtain, information from a protected computer

belonging to VICTIM EIGHT.

 (Obtaining Information by Unauthorized Access to a Protected Computer, in violation of
   Title 18, United States Code, Sections 1030(a)(2)(C), (b), and (c)(2)(B)(i) and (ii) and 2)

                                COUNT TWENTY-THREE
             (Furthering Fraud by Unauthorized Access to a Protected Computer)

       97.     Paragraphs 1 to 21 are re-alleged here.

       98.     On or about November 16, 2018, and beginning outside of the jurisdiction of any

particular State or district and, pursuant to Title 18, United States Code, Section 3238, within the

venue of the United States District Court for the District of Columbia, WONG ONG HUA and

LING YANG CHING, together with others known and unknown to the Grand Jury, knowingly

and with intent to defraud, accessed a protected computer without authorization, that is, a protected

computer belonging to VICTIM EIGHT, and aided and abetted the same, and by means of such

conduct, attempted to further the intended fraud and obtain something of value, specifically, digital

goods, in violation of 18 U.S.C. §§ 1030(a)(4), (b), and (c)(3)(A).

 (Furthering Fraud by Unauthorized Access to a Protected Computer, in violation of Title
             18, United States Code, Sections 1030(a)(4), (b), (c)(3)(A), and 2)




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                       FALSE REGISTRATION OF DOMAIN NAMES

       99.      In furtherance of the offenses alleged in Counts 1 to 3, 14 to 19, and 21 to 23, WONG

ONG HUA and LING YANG CHING, together with others known and unknown to the Grand

Jury, knowingly falsely registered, and willfully caused to be knowingly falsely registered, domain

names, and knowingly used, or knowingly caused to be used, said domain names in the course of

committing the offenses alleged in Counts 1 to 3, 14 to 19, and 21 to 23, namely, WONG ONG HUA

and LING YANG CHING, together with others known and unknown to the Grand Jury, registered

domains, including operatingbox.com and gxxservice.com, with false names and addresses, and used

those domains in the course of committing the felony offenses charged in Counts 1 to 3, 14 to 19, and

21 to 23.

       (False Registration of a Domain Name, in Violation of Title 18, Section 3559(g)(1))


                                 FORFEITURE ALLEGATION

       1.        Upon conviction of either of the offenses alleged in Counts 1 and/or 2 of this

Indictment, the defendants shall forfeit to the United States:

       a) any interests the defendants acquired or maintained in violation 18 U.S.C. § 1962, which

       interests are subject to forfeiture to the United States pursuant to 18 U.S.C. § 1963(a)(1);

       b) any interest in, security of, claim against, and/or property or contractual rights of any

       kind which afford a source of influence over, any enterprise which the defendants

       established, operated, controlled, conducted, and/or participated in the conduct of, in

       violation of 18 U.S.C. § 1962, which interests, securities, claims, and rights are subject to

       forfeiture to the United States pursuant to 18 U.S.C. § 1963(a)(2);

       c) any property constituting, or derived from, any proceeds obtained, directly or indirectly,

       from racketeering activity, in violation of 18 U.S.C. § 1962, which property is subject to


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        forfeiture to the United States pursuant to 18 U.S.C. § 1963(a)(3).

The United States will also seek a forfeiture money judgment against the defendants equal to the

value of this property.

        2.      Upon conviction of any of the offenses alleged in Counts 4, 5, 6, 7, 8, 10, 11, 12,

13, 14, 15, 16, 17, 18, 21, 22, and/or 23 of this Indictment, the defendants shall forfeit to the United

States any property constituting, or derived from, proceeds that the defendants obtained directly

or indirectly, as the result of these violations, pursuant to 18 U.S.C. § 982(a)(2)(B). The United

States will also seek a forfeiture money judgment against the defendants equal to the value of any

property constituting, or derived from, proceeds that the defendants obtained directly or indirectly,

as the result of these violations.

        3.      Upon conviction of any of the offenses alleged in Counts 4, 5, 6, 7, 8, 10, 11, 12,

13, 14, 15, 16, 17, 18, 21, 22, and/or 23 of this Indictment, the defendants shall forfeit to the United

States: (a) the defendant’s interest in any personal property that was used or intended to be used to

commit or to facilitate the commission of these violations; (b) any property, real or personal,

constituting or derived from, any proceeds the defendants obtained, directly or indirectly, as a

result of these violations; (c) any personal property used or intended to be used to commit or to

facilitate the commission of these violations; and (d) any property, real or personal, which

constitutes or is derived from proceeds traceable to these violations, pursuant to 18 U.S.C. §§

1030(i) and (j). The United States will also seek a forfeiture money judgment against the

defendants equal to the value of this property.

        4.      Upon conviction of any of the offenses alleged in Counts 1, 2, 4, 5, 6, 7, 8, 10, 11,

12, 13, 14, 15, 16, 17, 18, 21, 22, and/or 23 of this Indictment, the defendants shall forfeit to the

United States any property, real or personal, which constitutes or is derived from proceeds



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traceable to these offenses, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c). The

United States will also seek a forfeiture money judgment against the defendants equal to the value

of any property, real or personal, which constitutes or is derived from proceeds traceable to these

offenses.

       5.       Upon conviction of the offense alleged in Count 17 of this Indictment, the

defendants shall forfeit to the United States any personal property used or intended to be used to

commit this offense, pursuant to 18 U.S.C. §§ 1029(c)(1)(C). The United States will also seek a

forfeiture money judgment against the defendants equal to the value of any personal property used

or intended to be used to commit this offense.

       6.        Upon conviction of the offense alleged in Count 18 of this Indictment, the

defendants shall forfeit to the United States any personal property used or intended to be used to

commit this offense, pursuant to 18 U.S.C. §§ 1028(b)(5). The United States will also seek a

forfeiture money judgment against the defendants equal to the value of any personal property used

or intended to be used to commit this offense.

       7.       Upon conviction of any of the offenses alleged in Counts 3, 9 and or 20 of this

Indictment, the defendants shall forfeit to the United States any property, real or personal, involved

in these offenses or any property traceable to such property, pursuant to 18 U.S.C. § 982(a)(1).

The United States will also seek a forfeiture money judgment against the defendants equal to the

value of any property, real or personal, involved in this offense, or any property traceable to such

property.

       8.       If any of the property described above as being subject to forfeiture, as a result of

any act or omission of the defendant:

                a.     cannot be located upon the exercise of due diligence;



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              b.      has been transferred or sold to, or deposited with, a third party;

              c.      has been placed beyond the jurisdiction of the Court;

              d.      has been substantially diminished in value; or

              e.      has been commingled with other property that cannot be divided without

              difficulty;

the defendants shall forfeit to the United States any other property of the defendants, up to the

value of the property described above, pursuant to 21 U.S.C. § 853(p) and 18 U.S.C. § 1963(m).

       (Criminal Forfeiture, pursuant to Title 18, United States Code, Sections 981(a)(1)(C),
       982(a)(1), 982(a)(2), 1030(i) and (j), and Section 1963, Title 28, United Sates Code,
       Section 2461(c), and Title 21, United States Code, Section 853(p)).

                                                     A TRUE BILL


                                                     _________________________________
                                                     Foreperson


_________________________________
MICHAEL SHERWIN
ACTING UNITED STATES ATTORNEY IN AND FOR
THE DISTRICT OF COLUMBIA




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